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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                     CRIMINAL ACTION

VERSUS                                                       NO. 23-159

QUINTRELL BROWN                                              SECTION: A

                                        ORDER

      IT IS ORDERED that defendant’s Motion for Reconsideration of Detention (Rec.

Doc. No. 102) is set for hearing on October 5, 2023 at 12:00 p.m. before Magistrate Judge

Donna Phillips Currault.

      New Orleans, Louisiana this 2nd day of October 2023.




                                          DONNA PHILLIPS CURRAULT
                                      UNITED STATES MAGISTRATE JUDGE



NEF:
U.S. Probation
